Case 9:11-cr-00033-MAC-ZJH           Document 294        Filed 12/21/11      Page 1 of 2 PageID #:
                                            729




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 9:11-CR-33(5)
                                                  §
 HOLLY LINNEA VADELUND                            §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge. The magistrate judge recommended that the Court accept the Defendant’s

 guilty plea, but defer acceptance of the plea agreement until the Court has had an opportunity to

 review the presentence report. He further recommended that the Court adjudge the Defendant guilty

 on Count One-hundred and five (105) of the charging Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The Court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the Court has reviewed the presentence report.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Holly Linnea Vadelund, is



                                                -1-
Case 9:11-cr-00033-MAC-ZJH          Document 294       Filed 12/21/11     Page 2 of 2 PageID #:
                                           730



 adjudged guilty as to Count One-hundred and five (105) of the Indictment charging a violation of

 Title 21, United States Code, Section 841(c)(2).


              So ORDERED and SIGNED this 21 day of December, 2011.




                                                          ___________________________________
                                                          Ron Clark, United States District Judge




                                               -2-
